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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 SECURITIES AND EXCHANGE
 COMMISSION,                                        No. ___________
                           Plaintiff,
                                                    COMPLAINT
             v.
                                                    JURY TRIAL DEMANDED
 ANDREW T. FRANZONE, and

 FF FUND MANAGEMENT, LLC

                           Defendants.




       Plaintiff Securities and Exchange Commission (the “Commission”), for its Complaint

against Andrew T. Franzone (“Franzone”) and FF Fund Management, LLC (“FFM”)

(collectively, “Defendants”), alleges as follows:

                                SUMMARY OF ALLEGATIONS

       1.         From August 2014 through September 24, 2019 (the “Relevant Period”),

Franzone, the sole owner and officer of FFM, an investment adviser, fraudulently raised and

misappropriated tens of millions of dollars of investor funds from the sale of limited partnership

interests in a private fund they managed known as FF Fund I, L.P. (“FF Fund” or “the Fund”).

Defendants made material misstatements of fact and omitted to disclose material facts regarding

the Fund’s investment strategy, valuation, and performance; misappropriated FF Fund assets;

failed to eliminate or disclose serious conflicts of interests; and falsely represented that the Fund

would be audited annually.
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       2.      Defendants intentionally made materially false representations to limited partner

investors and potential investors that their fundamental investment strategy in managing the

Fund was to maintain a highly liquid portfolio with the objectives of capital appreciation, current

income, and risk management. Defendants represented to investors that they were primarily

trading options and preferred stock for the Fund. In reality, by the end of 2014, Defendants had

begun to invest in predominately illiquid investments such as private start-ups, early-stage

companies, and real estate ventures, some of which were started by Franzone’s friends and

associates. Despite these material changes in the Fund’s investment strategy, Defendants

continued to promote the Fund as a primarily liquid investment, which it was not.

       3.      Defendants made these misrepresentations in the Fund’s private placement

memorandum (“PPM”) that they distributed from December 2014 until at least June 2018.

Throughout the Relevant Period, Franzone also directed investors and prospective investors to

FF Fund’s website, which was under his control, and which repeated the PPM’s false description

of the investment strategy. Similarly, in emails, conversations, and other communications with

investors and prospective investors throughout the Relevant Period, Franzone made numerous

misleading statements about the performance of the Fund’s investments, and his role in

achieving the alleged positive returns. While falsely marketing the Fund to investors during the

Relevant Period, Franzone raised over $38 million from approximately 90 investors who wanted,

and were led to believe they were entering, a highly liquid investment fund. As of August 31,

2019, Defendants reported total assets under management of approximately $48 million.

       4.      On September 24, 2019, FF Fund filed for bankruptcy pursuant to Chapter 11 of

the United States Bankruptcy Code. According to the Chief Restructuring Officer appointed in

the bankruptcy, FF Fund entered bankruptcy holding no liquid securities other than four hedge



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fund investments that were liquidated for a total of $175,000. In contrast, the majority of FF

Fund’s investments were (i) illiquid, non-tradeable, privately held shares in early stage or start-

up companies, (ii) minority interests in real estate partnerships, or (iii) unsecured promissory

notes with long-term maturities.

       5.      During the Relevant Period, Franzone also misappropriated Fund assets and

possessed conflicts of interest that he did not eliminate or disclose. First, Franzone caused

approximately $26.6 million in Fund investor monies to be deposited into a separate company,

F5 Business Investment Partners, LLC (“F5”), which he owned, and in which the Fund had no

ownership interest. Second, Franzone diverted monies from Fund accounts for his personal use.

For example, in or about October 2015, Franzone misappropriated FF Fund’s assets by

improperly using $565,000 of FF Fund’s cash to purchase a private airplane hangar to store his

personal race car collection. Third, Franzone had personal incentives to invest Fund assets in

certain private companies or otherwise encumber Fund assets. Franzone obtained personal loans

from the founders of at least two of the illiquid private companies in which he caused FF Fund to

invest, and Franzone pledged FF Fund assets to secure other personal loans he arranged.

       6.      Defendants also misrepresented that they would have the Fund audited by an

independent accounting firm within 90 days of the end of each fiscal year. By failing to have the

Fund audited, Defendants further concealed their misconduct in shifting the Fund’s strategy and

their misappropriation of Fund assets. Defendants’ failure to have the Fund audited eliminated a

check on them inflating the value of Fund assets in reports to investors and, in turn, taking fees to

which they were not entitled.

       7.      Defendants’ material misrepresentations and omissions, misappropriation of Fund

assets, and failure to eliminate or disclose conflicts of interest violated the anti-fraud provisions



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of the federal securities laws and their fiduciary duties as investment advisers. Alternatively,

Franzone aided and abetted FFM’s violations. The Commission respectfully requests, among

other things, that the Court permanently enjoin Defendants from further violating the federal

securities laws as alleged in this Complaint and order Defendants to pay disgorgement plus pre-

judgment interest, civil penalties, and direct other appropriate and necessary relief.

                                 JURISDICTION AND VENUE

       8.      This Court has jurisdiction over this action pursuant to Section 22(a) of the

Securities Act, 15 U.S.C. § 77v(a), Section 27 of the Exchange Act, 15 U.S.C. § 78aa, and

Section 214 of the Advisers Act, 15 U.S.C. § 80b-14.

       9.      Venue is proper in this District pursuant to Section 22(a) of the Securities Act, 15

U.S.C. § 77v(a), and Section 27 of the Exchange Act, 15 U.S.C. §78aa, and Section 214 of the

Advisers Act, 15 U.S.C. § 80b-14, because certain of the offers and sales of securities and certain

of the acts, practices, transactions, and courses of business constituting the violations alleged in

this Complaint occurred in the District. FFM and the Fund were founded in the District, where

Franzone resided at the time. Franzone also maintains an address in the District for Andrew T.

Franzone, LLC, of which he is the sole owner. Franzone and FFM offered and sold limited

partnership interests in the Fund to numerous investors who reside in the District, including to

the Fund’s largest investor, a family trust, which was formed under New York law and whose

trustee resided in the District during the Relevant Period. Defendants had personal contacts in

this District in which they made material misrepresentations or omitted material information

about their trading strategy and activity. Defendants also had phone calls and electronic

communications with investors in this District in which they made material misrepresentations or

omitted material information about their trading strategy and activity.



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       10.     Defendants have directly or indirectly made use of the means or instrumentalities

of interstate commerce and/or the mails, including the use of e-mail, the internet, and telephone

in connection with the illegal transactions, acts, practices, and courses of business alleged in this

Complaint.

                                          DEFENDANTS

       11.     Andrew T. Franzone, age 44, is a natural person who currently does not

acknowledge having a fixed residential address but who generally can be found in the Miami,

Florida area. During the Relevant Period, Franzone was an investment adviser to FF Fund and

its wholly owned affiliates, which he used to make and manage investments. An investment

adviser owes a fiduciary duty to its clients, which includes a duty of care and a duty of loyalty.

The duty of care requires the investment adviser to provide investment advice in the best interest

of its client, based on the client’s objectives. The duty of loyalty requires an investment adviser

to eliminate or make full and fair disclosure of all conflicts of interest that might incline an

investment adviser—consciously or unconsciously—to render advice which is not disinterested

such that a client can provide informed consent to the conflict. Franzone received substantial

compensation for his investment adviser services to FF Fund and its affiliates. During the

Relevant Period, Franzone was also the sole owner, principal, and employee of FF Fund

Management, LLC. According to a December 2014 PPM for FF Fund, Franzone as of that time

had over seventeen years’ experience in real estate, venture capital, and private equity, and also

ran a New York state registered motor vehicle dealership and repair shop called “Andrew T.

Franzone, LLC,” which he used to support racing vintage automobiles with a focus on NASCAR

stock cars. Franzone also owned a race car venture known as “ATF & Gunslinger.”

       12.     FF Fund Management, LLC (formerly known as Farrell Franzone Investment

Management, LLC) is a Delaware limited liability company with its principal place of business
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in Miami, Florida. FFM filed an initial Form ADV with the Commission on August 25, 2017 as

an exempt reporting adviser. Form ADV provides certain basic disclosures about an investment

adviser. Certain investment advisers, known as exempt reporting advisers, may claim exemption

from registration and some aspects of the reporting requirements that are generally applicable to

investment advisers if they act solely as an adviser to qualifying private funds and the investment

adviser has assets under management in the United States of less than $150 million. FFM is the

sole and exclusive investment manager for FF Fund I, LP and its affiliates and subsidiaries.

FFM is the general partner of FF Fund. During the Relevant Period, FFM was an investment

adviser to FF Fund and its wholly owned affiliates. FFM is 100 percent owned by Franzone.

                               OTHER RELEVANT ENTITIES

       13.     FF Fund I, LP (formerly known as Farrell Franzone, LP) is a pooled investment

vehicle with its principal place of business in Miami, Florida. A pooled investment vehicle is

one in which funds from multiple investors are pooled for purposes of making investments and

returns are distributed to those investors based on their respective capital contributions. FF Fund

purports to be exempt from registration as an investment company under Section 3(c)(1) of the

Investment Company Act of 1940. FF Fund has filed 11 notices of exempt offerings of

securities on Form D since November 5, 2010, most recently on December 19, 2018. FF Fund

entered into voluntary Chapter 11 bankruptcy proceedings in the Bankruptcy Court for the

Southern District of Florida on September 24, 2019. As of September 2019, FF Fund had over

100 limited partners.

       14.     F5 Business Investment Partners, LLC (“F5”) was an investment vehicle

through which Defendants misappropriated FF Fund assets during the Relevant Period.

Franzone formed F5 on April 22, 2014, under the name Farrell Franzone Investments, LLC, and



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as a single-member Delaware limited liability company with its principal place of business in

New York, New York. Franzone changed the entity’s name to F5 Business Investment Partners,

LLC on March 15, 2016. Franzone owned 100% of F5’s membership interests from its

inception. Franzone was also the manager of F5. Throughout the Relevant Period, Defendants

transferred money from FF Fund investors into accounts controlled by F5. Defendants, through

F5, used approximately $26.6 million of FF Fund’s capital to procure and hold many of the

illiquid investments described in this Complaint. Franzone falsely told the outside administrator

of FF Fund that F5 was wholly-owned by the Fund. Defendants made no disclosure to FF

Fund’s limited partner investors that Franzone was F5’s true owner. It was not until November

12, 2019 that Franzone, pursuant to a request from the Chief Restructuring Officer for the Fund

in the bankruptcy, transferred his membership interests in F5 to the Fund. FF Fund had no

membership interest in F5 until that time. Following that transfer, the Chief Restructuring

Officer obtained bankruptcy court authorization to file a voluntary Chapter 11 petition on behalf

of F5. The voluntary petition for F5 was filed on January 24, 2020 and the FF Fund and F5

bankruptcy cases are being jointly administered. The diversion of Fund assets to F5 and

Franzone was not authorized by FF Fund’s organizational and governing documents, and far

exceeded any fees and expenses to which FFM was entitled from the Fund.

       15.     F3 Real Estate Partners, LLC (“F3”) is a single-member Florida limited

liability company with its principal place of business in Miami, Florida, and a subsidiary of FF

Fund. Franzone formed F3 on March 25, 2011, and used F3 to make real estate investments for

FF Fund.




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                                 FACTUAL ALLEGATIONS

       I.      Background

       16.     In 2010, Franzone and a partner founded FFM’s predecessor, Farrell Franzone

Investment Management, LLC, (“Farrell Franzone”). Farrell Franzone was the entity that

initially managed FF Fund. Farrell Franzone marketed FF Fund as an investment vehicle that

placed strong emphasis on risk management, capital preservation, and liquidity. The Fund’s core

strategy was to take active, short-term proprietary trading positions and medium- and longer-

term positions in exchange-listed preferred stock and stock options markets. The Fund’s

secondary strategy was to invest a minority portion of its capital in non-exchange traded assets in

an attempt to minimize the portfolio’s overall volatility. Farrell Franzone managed the Fund

consistently with the stated investment strategy.

       17.     Franzone’s partner was a well-known day trader who had previously run a private

preferred stock arbitrage fund. Until at least mid-2014, the partner managed most of FF Fund’s

investment portfolio. The partner was primarily responsible for trading preferred stocks, options,

and other exchange-traded positions. Franzone’s primary role was to source and invest a smaller

portion of FF Fund’s capital in private company and real estate opportunities. Franzone’s

partner withdrew all his capital from the Fund in the period July – October 2014, and was not

involved in managing the Fund thereafter. Franzone’s partner did no trading on behalf of the

Fund after July 2014. Farrell Franzone had approximately $8 million in assets under

management for FF Fund as of the end of July 2014.

       18.     Following his partner’s departure, Franzone was the sole owner and employee of

Farrell Franzone. Franzone sought to attract new investors to the Fund. In December 2014,

Franzone changed the name of the management company to “FF Fund Management, LLC.”

Franzone also caused the Fund to issue a PPM dated December 31, 2014 (the “2014 PPM”).
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Defendants were responsible for, and had ultimate authority over, the statements contained in the

2014 PPM. Notwithstanding the departure of Franzone’s partner, Defendants set forth in the

2014 PPM a trading strategy and focus consistent with the Fund’s prior PPMs. However,

beginning in August 2014, Defendants changed FF Fund’s investment strategy away from the

core strategy described in the PPM of investing in active, short-term proprietary trading positions

and medium- and longer-term positions in exchange-listed preferred stock and options markets.

Instead, rather than investing a minority portion of the Fund’s capital in non-exchange traded

assets as a hedge against volatility, Defendants concentrated the Fund in those types of

investments.

       II.     Defendants Radically Changed the Portfolio from Mainly Liquid Securities
       to Illiquid Investments

       19.     Starting in August 2014, Franzone began to steadily increase FF Fund’s

investments in start-ups, private companies, and real estate, while significantly decreasing the

amount of preferred stock and options trading in the portfolio. These illiquid holdings were the

same asset classes for which Franzone had been principally responsible before his partner exited

FFM’s predecessor. By the end of 2015, the books and records of the Fund reflect that private

company investments and real estate comprised approximately 61 percent of FF Fund’s

portfolio, while securities held at brokerage firms represented only approximately 21 percent.

The shift towards illiquid investments and away from exchange traded securities became even

more pronounced in 2016 and thereafter.

       20.     Franzone principally transferred Fund assets to F5, and then used F5 to make

investments in untraded private companies. Franzone retained an outside vendor to serve as the

administrator for the Fund. Among other things, the fund administrator calculated the net asset

value of the Fund and prepared monthly account statements for limited partners based on


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information provided by Franzone. Franzone falsely told the administrator that the assets they

had acquired through F5 belonged to the Fund. Franzone falsely represented to the administrator

that the Fund had a 99 percent ownership interest in F5. Franzone also used F3 to make real

estate investments.

       21.     Table 1 below is based on records obtained from the Fund’s administrator and

shows the drastic change in the composition of FF Fund’s investment portfolio as the result of

Franzone’s overhaul of the investment strategy:

                                            TABLE 1

                   Private                                            Hedge Funds
                  Company          Real Estate        Brokerage         & Other
  Year End       Investments       Investments       Firm Assets      Investments


  Jan 2014            0%               12%              74%               14%


    2014              24%              18%              33%               25%


    2015              42%              19%              21%               18%


    2016              66%              16%              12%                6%


    2017              80%              8%               12%                0%


    2018              82%              10%               6%                2%


  Sept 2019           93%              1%                1%                5%




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        22.      In addition to the fact that stock options and preferred stock constituted a far

smaller portion of the investment portfolio, Defendant’s trading activity in those asset classes

also declined dramatically during the Relevant Period. For example, reports generated by the

Fund’s administrator show that activity in the Fund’s three trading subsidiaries had all but

stopped by June 2015. The Fund’s main trading subsidiary reported no trades at all beginning in

August 2014; a second trading subsidiary reported its last trade in May 2015; and the third

subsidiary’s investments consisted solely of cash and interests in the other two trading

subsidiaries.

        23.      All told, from 2014 through 2019, Franzone invested in almost four dozen private

companies, including many start-ups in industries such as medical devices, social media apps,

and waste recycling. A common characteristic of these entities was that none of them were

liquid investments and virtually all were extremely risky. The following investments are

illustrative:

        a. Acadaca, LLC (“Acadaca”). Based in New York City, Acadaca is a privately held

              company that offers website design and internet marketing services. Acadaca’s

              majority owner (“Individual 1”) was Franzone’s personal acquaintance. Franzone

              agreed to extend credit to Acadaca in the aggregate amount of $6,750,000 through

              “Revolving Credit Promissory Notes” (the “Acadaca Notes”) dated December 1,

              2015 and May 21, 2017. In order to provide this money to Acadaca, Franzone used

              FF Fund monies that he had caused to be deposited into accounts owned by F5. In

              exchange, Acadaca pledged an aggregate of 10% of its membership interests, which

              were illiquid at the time and remain illiquid at present. Acadaca subsequently




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   disputed its indebtedness to F5 but recently has acknowledged owing an amount that

   now exceeds the $6,750,000 it originally borrowed.

b. “FaveIt” was a social media app being developed by Acadaca’s majority owner,

   Individual 1. In August 2013, Franzone, through F5, invested $318,000 in FaveIt in

   the form of a convertible promissory note. Individual 1 abandoned FaveIt in 2016.

   FaveIt no longer exists.

c. Aldwych Capital Partners LLC (“ACP”). Headquartered in New York City, ACP

   is described by Bloomberg as operating as an investment bank that focuses on private

   debt and equity financing and other “special situations.” ACP is privately held.

   Franzone caused F5 to invest $1,531,000 in ACP through F5’s issuance of a

   promissory note in exchange for 15.5% of ACP’s equity. F5’s equity stake in ACP is

   illiquid. In the period April 15, 2016 – December 15, 2018, the accrued interest on

   the promissory note, which was to be paid “in kind” was less than $20,000.

d. Global Energy & Recycling, Inc. (“GE&P”). GE&P’s website described the

   company as “a privately owned and family operated New York-city based company”

   that was seeking to develop environmentally responsible waste management

   solutions. On account of nonpayment of its lease, GE&P, since June 2018, has been

   locked out of a site that it was attempting to develop as a waste transfer station.

   Franzone, pursuant to a “Note and Warrant Purchase Agreement” (the “GE&P

   Agreement”) dated April 29, 2015, caused F5, using FF Fund capital, to extend credit

   to GE&P in the amount of $3,271,500, of which GE&P actually received

   approximately $1,531,500, and has made an outstanding capital call for an additional

   $1,740,000. The maturity date on the loan to GE&P is December 29, 2023. F5 has



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             received no repayment of principal or interest under the GE&P Agreement. Under

             the GE&P Agreement, F5 did receive a warrant for GE&P equity. By its terms,

             however, the warrant was to expire on April 29, 2017.

       e. Genesis Media, LLC (“Genesis”) was an advertisement technology company. In

             2014, Franzone on behalf of FF Fund, through F5, invested a total of $400,000 in

             Genesis. As of August 2017, Genesis’s sole asset was a stake in its parent company.

             The parent ceased operations in March 2018 when its senior lender sold all of its

             assets in a foreclosure auction. The company issued a tax form K-1 for the year

             showing that the capital had been written down to zero.

       f. Waves Technologies Limited (“Waves”) was a Guernsey corporation formed to

             provide an air taxi service transporting customers among the Channel Islands. On

             October 24, 2017, Franzone on behalf of FF Fund, through F5, invested $254,890 in

             Waves. On September 14, 2018, Waves announced that it had shut down and was

             liquidating.

       24.      Defendants caused investors to receive monthly account statements that were

based on instructions and information which he provided to the Fund’s administrator. The

account statements gave no indication of the actual composition of the Fund’s investment

portfolio, because, as represented in the PPM, Defendants’ investment techniques supposedly

were “proprietary” and would be made available to agents, such as auditors and accountants,

instead. Nor did these account statements reflect the fact that a substantial portion of the assets

in the Fund’s portfolio actually was owned by Franzone through F5. Investors merely received

one-page account statements that showed only the individual investor’s beginning and current




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account value, which was inflated because, among other things, the Fund did not own F5;

additions and redemptions; and purported profit or loss.

       III.  Defendants Misrepresented FF Fund’s Investment Strategy, Valuation and
       Performance

       25.     Despite the fundamental change of investment strategy, Defendants consistently

told investors and potential investors that FF Fund’s investment strategy focused on equities,

options, and preferred stock, and that the Fund was highly liquid and diversified. Those

representations were materially false and omitted material information. Defendants’ false

representations and omissions induced approximately 90 new and existing investors to invest

approximately $38 million in FF Fund during the Relevant Period. Approximately $23.5 million

of the new investment money came from the Fund’s single-largest investor, a family trust

managed by a trustee (“Individual 2”) to whom Franzone personally made numerous oral

material misrepresentations and omissions.

       26.     Throughout the Relevant Period, Defendants offered and sold limited partnership

interests in the Fund while claiming exemption from registration under Regulation D

promulgated under the Securities Act, 17 C.F.R. §230.501. Those limited partnership interests

were securities within the meaning of the federal securities laws.

       27.     Defendants solicited new investors for FF Fund using the 2014 PPM. Franzone

reviewed and approved drafts of the PPM and had ultimate authority over the PPM’s content.

Franzone also approved the PPM’s distribution. The PPM’s description of the investment

strategy for the Fund was material to investors and potential investors. Nonetheless, the PPM

did not disclose Franzone’s fundamentally new investment strategy for FF Fund, away from

actively trading preferred stock and options and towards acquiring and holding illiquid, non-




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traded private investments. Defendants knew, or were reckless or negligent in not knowing, that

the PPM’s representations about his investment strategy were false and misleading.

       28.     The 2014 PPM emphasized that FF Fund’s investment focus was on stock options

and preferred stock markets, and that it placed a strong emphasis on risk management, capital

preservation, and liquidity. The PPM set forth the strategy regarding the stock option and

preferred stock market trading in detail in six pages that touted the asserted expertise and

techniques that FFM would use to take advantage of perceived, short-term inefficiencies in those

markets. While the PPM included a statement that FFM could also have FF Fund invest in

“Private/Non-Exchange Traded Investments,” that discussion, which was less than one-half a

page, stressed that FFM viewed such private investments as a “sister strategy” whose purpose

was to minimize overall volatility and exposure to exchange traded market risks. There was no

disclosure of the radical change in the core investment strategy that had taken place since 2014.

       29.     In addition to distribution of the PPM, Defendants also made other false

representations to current and prospective investors to the effect that FF Fund remained highly

liquid and engaged primarily in liquid trading strategies. For example, throughout the Relevant

Period, Defendants directed potential investors to FF Fund’s website to learn more about the

Fund. Defendants approved and had ultimate authority over the content on the website. The

website’s “Trading Philosophy” page contains a similar description of the investment strategy

described in the PPM, and states that the Fund “places a strong emphasis on risk management,

capital preservation, and liquidity.” Defendants knew, or were reckless or negligent in not

knowing, that the website’s representations about his investment strategy were false and

misleading.




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       30.      The misrepresentations on the FF Fund website concerning Defendants’

investment strategy, to which Defendants directed investors and potential investors, were

material.

       31.      Defendants also sent monthly account statements to investors via cover emails

that consistently highlighted the Fund’s supposed “trading” returns. For example, in a

September 2015 email to Individual 2, the trustee to the family trust that was FF Fund’s largest

investor, Franzone wrote that the Fund is “track[ing] along nicely on the trading front . . . and we

just had fractional gains in the month . . . which was nice with all of the recent volatility in the

markets . . . .” Each monthly email to Individual 2 thereafter through July 2016 contained

similar language about fictional trading gains, and often ended with an upbeat message, such as

the Fund was “currently posting a gain with [x] trading days left to go in the month[.]”

Franzone’s emails were materially false and misleading because the Fund was not generating

gains from trading securities. As FFM’s sole investment professional and the author of the cover

emails, Franzone knew, or was reckless or negligent in not knowing, that his emails were false

and misleading.

       32.      The account statements themselves were materially false and misleading because:

(1) the valuations they showed were largely based on Fund assets that Franzone had diverted to

himself through F5; and (2) the Fund’s main trading subsidiaries generated flat or negative

returns for the second half of 2014, and all of 2015 and 2016. For example, the Fund’s trading

subsidiaries did little to no trading from August 2014 through May 2015, and no trading from

June 2015 through September 2019, generating flat to negative returns. Franzone knew that the

Fund’s performance results were driven by his subjective valuation of the F5 investments, and

not trading in stock options and preferred stocks, because he was the only person investing on



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behalf of the Fund, and he provided the information used to calculate returns to the Fund’s

administrator. Defendants knew, or were reckless or negligent in not knowing, that the account

statements and the transmittal emails accompanying them were false and misleading.

       33.     Beginning in at least July 2016, Defendants also sent investors monthly computer-

generated notifications that account statements were available to view on the FF Fund investor

website. These notifications told investors that they could log on to the “investor portal” on the

Fund’s website throughout the month to view “weekly mid-month return estimates on the

[f]und’s trading performance numbers.” However, the rates of return posted on the website were

based primarily on private investment values that Franzone often marked at his discretion, rather

than trading returns. They were materially false and misleading because: (1) the valuations they

showed were largely based on Fund assets that Franzone had diverted to himself through F5; and

(2) the Fund’s main trading subsidiaries generated flat or negative returns for the second half of

2014, and all of 2015 and 2016. Defendants knew, or were reckless or negligent in not

knowing, that the statements about rates of return that he caused to be posted on the website were

false and misleading.

       34.     Likewise, when soliciting potential investors throughout the Relevant Period,

Defendants maintained the façade that Franzone was a trader. In May 2017, for example,

Franzone wrote to a potential investor (“Individual 3”), “[P]lease call me anytime that works for

you. I’m around all of the rest of this week and next – just trading on the screens throughout all

of the days . . . .” That email conveyed the impression that the active trading of liquid securities

was Franzone’s main activity on behalf of FF Fund. At that time, however, assets available for

trading accounted for only five percent of FF Fund’s total portfolio. Franzone made only one

trade on the day he sent the email to Individual 3.



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       35.     Similarly, in an August 21, 2018 email to another prospective investor

(“Individual 4”), Franzone compared FF Fund’s returns to a benchmark index, and claimed that

the Fund was invested “roughly 50% in income securities . . . 10% equity . . . 10% alternatives;

10% real estate; and 10% private investments.” But at that time, however, Defendants reported

assets to the Fund’s administrator showing that private investments actually accounted for 80%

of FF Fund’s holdings, most of which actually were held by F5. Defendants knew, or were

reckless or negligent in not knowing, that their emails to prospective investors were false and

misleading.

       36.     Franzone also made oral misrepresentations to investors about his supposed active

trading on behalf of FF Fund. For example, Franzone made misrepresentations to Individual 2

during golf outings and other social events, and when Franzone would visit at Individual 2’s

vacation home. Franzone discussed his options trading strategy for FF Fund on virtually every

such occasion, as well as the Fund’s performance. Individual 2 relied on Franzone’s

misstatements when he decided to make additional investments into FF Fund each year during

the Relevant Period, for himself as well as for the family trust he managed. Franzone also told

another investor, Individual 5 that she could withdraw money from the Fund at any time, and that

when the markets were down, his strategy would perform the best. Similarly, Franzone told

other investors that the Fund was engaged primarily in trading and that they would have the

ability to withdraw their money at any time. These statements were false because, as averred

above, Franzone had already concentrated the Fund’s investment portfolio in highly illiquid,

non-traded investments beginning in August 2014.

       37.     None of Franzone’s many communications with current or prospective investors

disclosed that he had completely overhauled FF Fund’s investment strategy from primarily liquid



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trading strategies to primarily illiquid private investments. To the contrary, the emails

accompanying the account statements gave the impression that trading alone was responsible for

gains in the Fund. Franzone’s misrepresentations and omissions were material to the decisions

of certain existing investors to invest additional funds with FF Fund during the Relevant Period.

Those investors wanted what Franzone and FFM represented FF Fund’s investment strategy to

be – a proprietary strategy that sought capital appreciation and current income through

sophisticated trading in liquid option and preferred stock markets. Moreover, despite Defendants

representing that the Fund was profitable, Defendants transferred substantial assets of the Fund

to F5, an entity owned by Franzone, and wholly invested in illiquid private investments, thereby

causing the Fund to suffer significant losses.

        38.    The representations identified in Paragraphs 27 - 37 above were materially false

and misleading. At all material times, Defendants knew, or were reckless or negligent in not

knowing, that those representations were false and misleading. Franzone was the sole

investment professional who made the decision to invest the Fund’s assets in illiquid private and

real estate investments. Franzone also provided the outside Fund administrator with information

about the Fund’s holdings which showed the Fund was not the trading vehicle he represented to

investors. Franzone was the sole investment professional responsible for the misrepresentations

and omissions made to investors about the investment strategy, valuation and performance of the

Fund.

        IV.    Franzone Misappropriated FF Fund Assets

        39.    Throughout the Relevant Period, Defendants systematically caused FF Fund

investor monies to be deposited into financial institution accounts owned by F5, an entity in

which Franzone was the 100 percent owner and in which FF Fund had no equity interest during

the Relevant Period. According to the Chief Restructuring Officer in FF Fund’s bankruptcy
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case, the Defendants used at least $26.6 million of FF Fund’s assets to invest in illiquid private

companies held in F5. Defendants even charged the Fund management and incentive fees on the

very assets they had misappropriated through F5. Defendants knew, or were reckless or

negligent in not knowing, that FF Fund had no ownership interest in F5 during the Relevant

Period. Defendants knew because Franzone had organized F5’s predecessor as his own

company, because he had subsequently changed F5’s name without changing its ownership, and

because he managed both F5 and FF Fund. Neither the 2014 PPM nor the Limited Partnership

Agreement for FF Fund authorized Defendants to deposit investor monies into accounts owned

by an entity in which the Fund had no ownership interest but that was instead owned by

Franzone. Defendants knew, or were reckless or negligent in not knowing, that they had no right

to divert FF Fund investor monies to F5.

       40.     For example, on October 5, 2015, Franzone provided $565,000 for the closing on

the purchase of an airplane hangar to store his private race car collection and for his race team to

use as a working garage. Franzone’s race car team and collection were his personal hobbies

and/or personal business. To complete the purchase transaction, Franzone partnered with

Individual 5 and her husband (“Individual 6”), who were working with the race car team, and

who were also FF Fund limited partner investors. Franzone told Individual 5 and Individual 6

that he was buying the hangar with his personal funds. In fact, FF Fund investor funds were the

direct source of Franzone’s purchase money for the hangar. For example, one investor’s

(“Individual 7”) $120,000 investment into FF Fund in October 2015 was immediately transferred

to an account owned by F5, from which Franzone wired the $565,000 cash for the purchase of

the hangar. In 2019, Franzone admitted to Individuals 5 and 6 that he had used FF Fund money

to pay for the hangar.



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       41.     Defendants also misappropriated FF Fund assets by other means. For example, in

late 2018, Franzone misappropriated $1 million in cash from FF Fund by causing the Fund to

take out a high-interest loan, diverting the loan proceeds to his personal business interests, and

then using FF Fund monies to repay the loan. More specifically, Franzone executed on behalf of

FF Fund a $1 million, short-term note that bore an annual interest rate in excess of 100%. The

lenders were the spouse (“Individual 8”) of Franzone’s attorney (“Individual 9”) and a limited

liability company controlled by one of FF Fund’s outside consultants (“Individual 10”).

Franzone pledged significant FF Fund assets, including stock, distributions from private

investments, and condominiums to secure the loan. The borrowers specifically listed on the note

were FF Fund, a Fund subsidiary, and F5. Franzone provided the lenders with wire instructions

that listed the bank account name as FF Fund I, but the bank account number Franzone provided

was an entity wholly owned by Franzone and through which he ran his race car team. When one

lender wrote a $95,000 installment of the loan via check, the check was made payable to FF

Fund I. Nonetheless, Franzone deposited the check and the rest of the loan installments in his

race car team’s account, thereby diverting all of the proceeds of the loan to his racing team.

       42.     When Franzone could not pay the note at maturity, he agreed to transfer to the

lenders a portion of the Fund’s investment in a condominium project, which was near agreement

on a sale and closed two months later. Franzone eventually repaid the loan in May 2019 by

paying the lenders $1.515 million from FF Fund’s bank account. Defendants did not disclose

these transactions to the Fund’s limited partner investors. Neither the PPM nor the LPA

authorized Franzone to engage in the transactions using Fund monies. The $1 million that

Franzone misappropriated exceeded any fees and expenses to which Defendants were entitled




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under the PPM and LPA. Defendants knew, or were reckless or negligent in not knowing, that

Franzone was not authorized to use Fund monies for the transactions.

       43.     Defendants also sent FF Fund assets to Franzone’s former girlfriend (“Individual

11”). From August 2017 to May 2019, Franzone sent $289,000 via eleven separate wire

transfers from an F5 account directly to the personal bank account of his former girlfriend,

Individual 11. Defendants transferred the cash for the transactions from an FF Fund account to

the F5 account. Franzone recorded F5 as a wholly-owned subsidiary of FF Fund in its books and

records and, in turn, the transfers to Individual 11 in FF Fund’s books and records as an

investment in a company, which was engaged in the business of delivering luxury pet gift

baskets and was owned by Individual 11. In reality, however, there is no documentation

whatsoever of any agreement relating to the purported investment in the company. The

payments to Individual 11 were nothing more than transfers of cash from Defendants to

Franzone’s former girlfriend with no discernible benefit to the Fund, nor any agreement to repay

the moneys. Defendants used FF Fund assets to make these payments. Neither the PPM nor the

LPA authorized Defendants to use Fund monies for this purpose. Defendants knew, or were

reckless or negligent in not knowing, that they were not authorized to do so.

       44.     In June 2011, Franzone began to acquire on behalf of FF Fund, through F3, units

in a residential condominium complex in Florida. Defendants acquired more units in the same

property over the years, eventually selling the units in May 2019. However, instead of

depositing all the proceeds into the FF Fund account, Defendants used at least $1.2 million of the

proceeds of the sale to pay off a personal loan described in Paragraph 41 above. Neither the

PPM nor the LPA authorized Defendants to use Fund monies for this purpose. At least $1.2

million that Defendants misappropriated also exceeded any fees or expenses to which



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Defendants were entitled under the PPM and the LPA. Defendants knew, or were reckless or

negligent in not knowing, that they were not authorized to do so.

       45.     The FF Fund monies that Defendants misappropriated greatly exceeded any

reasonable calculation of fees to which they were entitled. Under the Fund’s Limited Partnership

Agreement, FFM, as the General Partner, was entitled to receive an annual management fee of

from 2% to 3% of the limited partners’ capital account balances. The Fund’s 2014 PPM also

provided that FFM was entitled to receive an annual performance fee of 20% of the profits

shown in the limited partners’ capital account balances. During the Relevant Period, Defendants

received or accrued over $3.7 million in management fees and approximately $3.3 million in

performance fees. Those fees were inflated because they were based on calculations that

included investments held in F5 in which FF Fund investors had no actual equity interest at the

time. But even accepting the fees as legitimate, they were orders of magnitude less than the

$26.6 million that Defendants misappropriated from FF Fund to procure investments held in F5,

as well as other monies that Defendants misappropriated from FF Fund.

       46.     The misappropriations described in Paragraphs 39-45 above were material to the

Fund and to its limited partner investors.

       V.      Defendants Failed to Eliminate or Disclose Conflicts of Interest

       47.     As investment advisers, Defendants owed a fiduciary duty to act in the best

interest of FF Fund and to eliminate or disclose actual or potential conflicts of interest.

Defendants violated their fiduciary duty to the Fund by failing to eliminate or disclose

Franzone’s conflicts of interests related to his personal dealings with Acadaca’s founder and

majority owner, Individual 1. Franzone had a conflict because he had a personal economic

incentive to invest Fund assets in the illiquid securities of Acadaca. Individual 1 had invested a

total of $190,000 in FF Fund in 2012, 2013, and 2014. In early 2014, Individual 1 approached
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Franzone about his desire to invest additional money in FF Fund. Franzone proposed that

instead of investing in the Fund, Individual 1 should make a $150,000 personal loan directly to

Franzone. Individual 1 agreed. Not only did Individual 1 loan the $150,000 to Franzone

personally rather than contributing it to the Fund, he also redeemed part of his existing stake in

FF Fund in order to fund the loan. Defendants continued to cause FF Fund to make further

investments in Individual 1’s company without disclosing or eliminating Franzone’s personal

conflicts.

        48.      As averred above, Individual 1’s company, Acadaca, was a private company to

which Defendants later extended a multi-million dollar line of credit using assets

misappropriated by F5 from FF Fund. More specifically:

              a. In December 2015, while Franzone still personally owed money to Individual 1,

                 Defendants agreed to extend a $500,000 line of credit from F5 in exchange for

                 equity in Acadaca;

              b. In January 2016, while Franzone still personally owed money to Individual 1,

                 Defendants invested another $300,000 of FF Fund’s assets in Acadaca; and

              c. In May 2017, while Franzone still personally owed money to Individual 1,

                 Defendants extended an additional $6,250,000 line of credit from F5 to Acadaca

                 in exchange for additional equity.

        49.      Franzone did not eliminate the conflict at the time Defendants extended the loans

to Acadaca, nor did he disclose to FF Fund investors the existence of the personal loan, the

circumstances of it being funded, or the fact that the loan was still outstanding when he agreed to

extend the line of credit. At the time the Fund entered bankruptcy in September 2019, Acadaca

owed a total of almost $6.9 million to F5.



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       50.     In addition, Defendants failed to act in the Fund’s best interest when they caused

FF Fund to liquidate an existing investment so that they could use the cash to pay off a debt

owed by Acadaca. In early 2018, Acadaca needed cash, but the Defendants were unable to

provide it at the time. Franzone introduced Individual 1 to the owner of a third-party investment

fund (“Fund A”), who agreed to make a high-interest, short-term loan to Acadaca in the form of

a $450,000 promissory note issued on March 12, 2018. Defendants committed FF Fund to act as

guarantor on the note. Acadaca failed to repay the note by the time it matured on May 12, 2018,

and also failed to repay the note after two subsequent extensions of the maturity date.

Defendants then caused FF Fund, which owned limited partnership interests in Fund A, to

redeem its interests and use the proceeds to pay Fund A $524,120. In exchange, Fund A

assigned the note from Acadaca to FF Fund. Acadaca had not repaid its obligation on the note to

FF Fund by the time the Fund entered bankruptcy in September 2019.

       51.     Franzone’s dealings with Acadaca and Individual 1 constituted conflicts of

interest for Defendants. But Defendants did not eliminate those conflicts or disclose them on FF

Fund’s website or by any other medium of communication.

       VI.     Defendants Failed to Provide Investors with Yearly Audit Reports

       52.     During the Relevant Period, Franzone and FFM falsely represented to investors

that they would be provided with audit reports for FF Fund. Defendants made this false

representation in FF Fund’s 2014 PPM, which states that investors would be provided with

audited financial statements annually, within 90 days of the end of the fiscal year. The promise

of a Fund audit was an important safeguard to the Fund and its investors because the auditor

would have full access to the content of FF Fund’s portfolio of investments. Investors did not

have direct access to that information because the investment techniques of FF Fund were

deemed proprietary
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        53.     Despite these representations, Defendants did not timely provide investors with

any audited financial statements for FF Fund after the fiscal year ending on December 31, 2014.

Even that statement for 2014 was not completed until March 14, 2018. Despite complaints from

investors, no audits were completed for the years 2015-2018. Franzone and FFM not only

misrepresented that the Fund’s financial statements would be audited, they denied investors the

benefit of what was supposed to be an important check and safeguard. As a result, investors

could not see that F5 was not wholly owned by the Fund, that Franzone used Fund assets to pay

for his race car team expenses, or that Defendants otherwise abused Fund assets.

        VII.    Defendants’ Fraud is Revealed

        54.     Although Defendants made material misrepresentations throughout the Relevant

Period, concealed their misappropriation of Fund assets, and failed to eliminate or disclose their

conflicts of interest, certain investors eventually became suspicious and began to ferret out their

misconduct. In early 2019, Individual 5 overheard an in-person conversation that Franzone was

having with an outside consultant (“Individual 12”) he had hired to review the Fund’s expenses.

In addition to being investors in FF Fund, Individual 5 and her husband, Individual 6, a former

NASCAR driver, knew Franzone because Individual 6 managed Franzone’s race car team. The

couple both heard the consultant express concern to Franzone that FF Fund did not have proper

documentation for Fund investments, and that there were many questionable disbursements to

outside vendors for what appeared to be duplicative or unnecessary services. Individual 5 and

Individual 6 later confronted Franzone about what they had heard. Franzone initially denied the

existence of any problems, but during the course of a wide-ranging and sometimes heated

discussion, ultimately told Individuals 5 and 6 that FF Fund’s investment portfolio was totally

illiquid.



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       55.     Individual 5 later contacted a registered investment adviser (“Individual 13”) who

had referred clients to FF Fund. Individual 5 told Individual 13 what Franzone had said about FF

Fund being illiquid. Individual 13 thereupon demanded an in-person meeting with Franzone.

During the ensuing meeting in April 2019, Franzone disclosed a number of previously

undisclosed facts about his handling of FF Fund. Most notably, Franzone repeated the substance

of what he had said to Individuals 5 and 6 about FF Fund being totally illiquid. Franzone

specifically stated to Individual 13 that the Fund had less than $10,000 invested in the kinds of

investments emphasized in the PPM – i.e., income generating securities, options, preferred

stocks and other exchange-traded or liquid investments. Franzone also stated that he had not

done any trading in options and preferred stocks at all since early 2018. Franzone also stated that

he had allocated virtually all of FF Fund’s capital to illiquid private investments. Franzone

further admitted that the value of FF Fund’s invested capital was tens of millions of dollars less

than Franzone had previously reported. Individual 13 recognized some of the specific private

companies Franzone identified during their discussions, and he confronted Franzone as to how

investments in those entities could have supported the capital account valuations that Defendants

had reported to limited partners in the Fund. Franzone admitted that his markings of the value of

investments in those private companies had been inflated.

       56.     In approximately June 2019, the largest investor in FF Fund, the trust as to which

Individual 2 served as trustee, requested to review the Fund’s books and records. Shortly after

receiving that request, Defendants sent emails to all investors announcing that they were

planning to liquidate the Fund. FF Fund has not returned investors’ capital investments. Instead,

on September 24, 2019, FF Fund filed a petition in the United States Bankruptcy Court for the

Southern District of Florida under Chapter 11 of the Bankruptcy Code.



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                                  FIRST CLAIM FOR RELIEF

     Fraud in Violation of Section 10b of the Exchange Act and Rule 10b-5 Thereunder

                 (Against Andrew T. Franzone and FF Fund Management, LLC)

          57.   The Commission realleges and incorporates by reference each and every

allegation contained in Paragraphs 1 through 56 of this Complaint as though fully set forth

herein.

          58.   Franzone and FFM, knowingly or recklessly, by use of the means or

instrumentalities of interstate commerce or of the mails, in connection with the purchase or sale

of securities, directly or indirectly (a) employed devices, schemes, or artifices to defraud, (b)

made untrue statements of material facts or omitted to state material facts necessary in order to

make the statements made, in the light of the circumstances under which they were made, not

misleading, or (c) engaged in acts, practices, or courses of business which operate or would

operate as a fraud or deceit upon any person.

          59.   By reason of the foregoing, Franzone and FFM violated and, unless enjoined, is

reasonably likely to continue to violate Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)]

and Rule 10b-5 thereunder [17 C.F.R. § 240.10b-5].

                                SECOND CLAIM FOR RELIEF

Aiding and Abetting Fraud in Violation of Section 10b of the Exchange Act and Rules 10b-
                             5(a), (b) and (c) Thereunder

                                  (Against Andrew T. Franzone)

          60.   The Commission realleges and incorporates by reference each and every

allegation contained in Paragraphs 1 through 59 of this Complaint as though fully set forth

herein.




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          61.   FFM directly or indirectly, by use of any means or instrumentality of interstate

commerce, or of the mails, intentionally, knowingly or recklessly (a) employed devices,

schemes, or artifices to defraud, (b) made untrue statements of material facts or omitted to state

material facts necessary in order to make the statements made, in the light of the circumstances

under which they were made, not misleading, or (c) engaged in acts, practices, or courses of

business which operate or would operate as a fraud or deceit upon any person.

          62.   Franzone knew, or was reckless in not knowing, that FFM engaged in those

violations. By engaging in the acts and conduct alleged in this Complaint, Franzone knowingly

provided substantial assistance to FFM’s violations of Section 10b of the Exchange Act, [15

U.S.C. § 78j(b)] and Rule 10b-5(b) thereunder [17 C.F.R. § 240.10b-5(b)].

          63.   By reason of the foregoing, Franzone is liable for FFM’s violations pursuant to

Exchange Act Section 20(e) [15 U.S.C. § 78t(e)]. Unless restrained and enjoined, Franzone will

continue to aid and abet violations of Exchange Act Section 10(b) [15 U.S.C. § 78j(b)] and Rule

10b-5(b) [17 C.F.R. § 240.10b-5(b)].

                                  THIRD CLAIM FOR RELIEF

                    Fraud in Violation of Sections 17(a) of the Securities Act

                 (Against Andrew T. Franzone and FF Fund Management, LLC)


          64.   The Commission realleges and incorporates by reference each and every

allegation contained in Paragraphs 1 through 63 of this Complaint as though fully set forth

herein.

          65.   Franzone and FFM, in the offer or sale of securities, by the use of the means or

instruments of communication in interstate commerce or by use of the mails, directly or

indirectly:

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          (a) knowingly or recklessly employed any devices, schemes, or artifices to defraud;


          (b) knowingly, recklessly or negligently obtained money or property by means of an

          untrue statement of a material fact or an omission to state a material fact necessary in

          order to make the statement made, in light of the circumstances under which it was made,

          not misleading; and/or


          (c) knowingly, recklessly or negligently engaged in transactions, practices, or courses of

          business which operated or would operate as a fraud or deceit upon the purchaser.


          66.    By reason of the foregoing, Franzone and FFM violated and, unless enjoined, is

reasonably likely to continue to violate Section 17(a) of the Securities Act [15 U.S.C. § 77q(a)].

                                   FOURTH CLAIM FOR RELIEF

          Aiding and Abetting Fraud in Violation of Sections 17(a) of the Securities Act

                                    (Against Andrew T. Franzone)

          67.    The Commission realleges and incorporates by reference each and every

allegation contained in Paragraphs 1 through 66 of this Complaint as though fully set forth

herein.

          68.    FFM, in the offer or sale of securities, by the use of the means or instruments of

communication in interstate commerce or by use of the mails, directly or indirectly:

          (a) knowingly or recklessly employed any devices, schemes, or artifices to defraud;


          (b) knowingly, recklessly or negligently obtained money or property by means of an

          untrue statement of a material fact or an omission to state a material fact necessary in

          order to make the statement made, in light of the circumstances under which it was made,

          not misleading; and/or


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          (c) knowingly, recklessly or negligently engaged in transactions, practices, or courses of

          business which operated or would operate as a fraud or deceit upon the purchaser.


          69.    Franzone knew, or was reckless in not knowing, that FFM engaged in those

violations. By engaging in the acts and conduct alleged in this Complaint, Franzone knowingly

or recklessly provided substantial assistance to and thereby aided and abetted Blue Earth’s

violations of Securities Act Section 17(a) [15 U.S.C. § 77q(a))] and, unless restrained and

enjoined, will continue to aid and abet violations of Securities Act Section 17(a) [15 U.S.C.

§ 77q(a)]. Accordingly, pursuant to Securities Act Section 15(b) [15 U.S.C. § 77o(b)], Franzone

is liable for those violations.

                                    FIFTH CLAIM FOR RELIEF

                       Fraud in Violation of Section 206(1) of the Adviser Act

                    (Against Andrew T. Franzone and FF Fund Management, LLC)


          70.    The Commission realleges and incorporates by reference each and every

allegation contained in Paragraphs 1 through 69 of this Complaint as though fully set forth

herein.

          71.    By engaging in the acts and conduct alleged in this Complaint, during the

Relevant Period, Franzone and FFM were acting as investment advisers to FF Fund within the

meaning of Section 202(a)(11) of the Advisers Act, 15 U.S.C. § 80b-2(a)(11), because they were

persons who, for compensation, engaged in the business of advising others, either directly or

through publications or writings, as to the value of securities or as to the advisability of investing

in, purchasing, or selling securities.

          72.    By engaging in the acts and conduct alleged in this Complaint, Franzone and

FFM, directly or indirectly, singularly or in concert, by use of the mails or means and

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instrumentalities of interstate commerce, while acting as investment advisers, employed devices,

schemes, or artifices to defraud any client or prospective client, with scienter.

          73.   As investment advisers, Franzone and FFM owed FF Fund a fiduciary duty of

utmost good faith and had an affirmative duty to make full and fair disclosure to them of all

material facts, as well as the duty to act in FF Fund’s best interests, and not act in Franzone and

FFM’s own interests to the detriment of FF Fund.

          74.   Franzone and FFM breached their fiduciary duties to FF Fund and engaged in

fraudulent conduct that violated Section 206(1) of the Advisers Act, 15 U.S.C. § 80b-6(1), by

knowingly or recklessly misappropriating FF Fund’s money and by failing to eliminate or

disclose conflicts of interest or potential conflicts of interest.

          75.   By reason of the foregoing, Franzone and FFM have violated, and unless enjoined

will again violate, Section 206(1) of the Advisers Act, 15 U.S.C. § 80b-6(1).

                                   SIXTH CLAIM FOR RELIEF

                    Fraud in Violation of Section 206(2) of the Advisers Act

                  (Against Andrew T. Franzone and FF Fund Management, LLC)

          76.   The Commission realleges and incorporates by reference each and every

allegation contained in Paragraphs 1 through 75 of this Complaint as though fully set forth

herein.

          77.   By engaging in the acts and conduct alleged in this Complaint, during the

Relevant Period, Franzone and FFM were acting as investment advisers to FF Fund within the

meaning of Section 202(a)(11) of the Advisers Act, 15 U.S.C. § 80b-2(a)(11), because they were

persons who, for compensation, engaged in the business of advising others, either directly or




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through publications or writings, as to the value of securities or as to the advisability of investing

in, purchasing, or selling securities.

        78.     By engaging in the acts and conduct alleged in this Complaint, Franzone and

FFM, directly or indirectly, singularly or in concert, by use of the mails or means and

instrumentalities of interstate commerce, while acting as investment advisers, engaged in

transactions, practices, or courses of business which operated as a fraud or deceit upon any client

or prospective client.

        79.     As investment advisers, Franzone and FFM owed FF Fund a fiduciary duty of

utmost good faith and had an affirmative duty to make full and fair disclosure to them of all

material facts, as well as the duty to act in FF Fund’s best interests, and not act in Franzone and

FFM’s own interests to the detriment of FF Fund.

        80.     Franzone and FFM breached their fiduciary duties to FF Fund and limited

partners-investors and engaged in transactions, practices, or courses of business which operated

as a fraud or deceit upon any client or prospective client that violated Section 206(2) of the

Advisers Act, 15 U.S.C. §§ 80b-6(2), by misappropriating FF Fund’s assets and by failing to

eliminate or disclose conflicts of interest or potential conflicts of interest.

        81.     By reason of the foregoing, Franzone and FFM have violated, and unless enjoined

will again violate, Section 206(2) of the Advisers Act, 15 U.S.C. § 80b-6(2).

                                SEVENTH CLAIM FOR RELIEF

  Fraud in Violation of Section 206(4) of the Advisers Act and Rule 206(4)-8 Thereunder

                     (Against Andrew T. Franzone and FF Management, LLC)




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          82.   The Commission realleges and incorporates by reference each and every

allegation contained in Paragraphs 1 through 81 of this Complaint as though fully set forth

herein.

          83.   By engaging in the acts and conduct alleged in this Complaint, during the

Relevant Period, Franzone and FFM were acting as investment advisers to FF Fund within the

meaning of Section 202(a)(11) of the Advisers Act, 15 U.S.C. § 80b-2(a)(11), because they were

persons who, for compensation, engaged in the business of advising others, either directly or

through publications or writings, as to the value of securities or as to the advisability of investing

in, purchasing, or selling securities.

          84.   FF Fund was a pooled investment vehicle within the meaning of Rule 206(4)-8(b)

of the Advisers Act, 17 C.F.R. § 275.206(4)-8(b). FF Fund was engaged in, held itself out as

being engaged primarily, and proposed to engage itself primarily in the business of investing,

reinvesting, and/or trading in securities, and thus was an investment company as defined in

Section 3(a) of the Investment Company Act of 1940, 15 U.S.C. § 80a-3(a), or would have been

an investment company under that provision but for the exclusion provided from that definition

under either Section 3(c)(1) or Section 3(c)(7) of the Investment Company Act of 1940, 15

U.S.C. § 80a-3(c)(1) & (7).

          85.   By engaging in the acts and conduct alleged in this Complaint, Franzone and

FFM, while acting as investment advisers to FF Fund, which was a pooled investment vehicle,

by use of the means and instrumentalities of interstate commerce and of the mails, (1) made

untrue statements of material fact and omitted to state material facts necessary to make

statements made, in the light of the circumstances under which they were made, not misleading,

to investors and prospective investors in the pooled investment vehicles; and (2) engaged in acts,



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practices, and courses of business that were fraudulent, deceptive, and manipulative with respect

to investors and prospective investors in pooled investment vehicles.

          86.   By reason of the foregoing, Franzone and FFM have violated, and unless enjoined

will again violate, Section 206(4) of the Advisers Act, 15 U.S.C. § 80b-6(4), and Rule 206(4)-

8(a) thereunder, 17 C.F.R. § 275.206(4)-8(a).

                                EIGHTH CLAIM FOR RELIEF

    Aiding and Abetting Violations Section 206 of the Advisers Act and Rule 206(4)-(8)
                                      Thereunder

                                  (Against Andrew T. Franzone)

          87.   The Commission realleges and incorporates by reference each and every

allegation contained in Paragraphs 1 through 86 of this Complaint as though fully set forth

herein.

          88.   By engaging in the acts and conduct alleged in this Complaint, FFM, directly or

indirectly, singularly or in concert, by use of the mails or means and instrumentalities of

interstate commerce, while acting as investment advisers, engaged in transactions, practices, or

courses of business which operated as a fraud or deceit upon any client or prospective client and

investors and prospective investors in pooled investment vehicles in violation of Sections 206(1),

(2) and (4) of the Advisers Act, 15 U.S.C. §§ 80b-6(1), (2) an (4), and Rule 206(4)-8(a)

thereunder, 17 C.F.R. § 275.206(4)-8(a).

          89.   By engaging in the acts and conduct alleged in this Complaint, Franzone

knowingly provided substantial assistance to FFM’s violations of Section 206 of the Advisers

Act and Rule 206(4)-8(a) thereunder, and thereby is liable under that provision as an aider and

abettor, pursuant to Section 209(f) of the Advisers Act, 15 U.S.C. § 80b-9(f).




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       90.     By reason of the foregoing, Franzone has violated, and unless enjoined will again

violate, Section 206 of the Advisers Act and Rule 206(4)-8(a) thereunder, as an aider and abettor

of Apollo’s violations pursuant to Section 209(f) of the Advisers Act, 15 U.S.C. § 80b-9(f).



                                    PRAYER FOR RELIEF

       WHEREFORE, the Commission respectfully requests that the Court enter a Final

Judgment:


                                                 I.

       Finding that Defendants each violated the Federal securities laws and rules promulgated

thereunder as alleged against them in this Amended Complaint.


                                                 II.

       Permanently restraining and enjoining Defendants, their agents, servants, employees and

attorneys and other persons in active concert or participation with them who receive actual notice

of the injunction by personal service or otherwise from committing future violations (i) Section

17(a) of the Securities Act [15 U.S.C. §§ 77e(a), 77e(c), 77q(a)]; (ii) Section 10(b) of the

Exchange Act, [15 U.S.C. §§ 78j(b)] and Rule 10b-5 thereunder [17 C.F.R.§ 240.10b-5]; and (iii)

Section 206(1), (2), and (4) of the Advisers Act, 15 U.S.C. §§ 80b-6(1), (2), & (4), and Rule

206(4)-8(b) thereunder, 17 C.F.R. § 275.206(4)-8(b).

                                                III.

       Permanently restraining and enjoining Defendant Andrew T. Franzone, his agents,

servants, employees and attorneys and other persons in active concert or participation with him

who receive actual notice of the injunction by personal service or otherwise from aiding and

abetting future violations (i) Section 17(a) of the Securities Act [15 U.S.C. §§ 77e(a), 77e(c),

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77q(a)]; (ii) Section 10(b) of the Exchange Act, [15 U.S.C. §§ 78j(b)] and Rule 10b-5 thereunder

[17 C.F.R.§ 240.10b-5]; and (iii) Section 206(1), (2), and (4) of the Advisers Act, 15 U.S.C. §§

80b-6(1), (2), & (4), and Rule 206(4)-8(b) thereunder, 17 C.F.R. § 275.206(4)-8(b).

                                                    IV.

        Permanently restraining and enjoining Defendant Andrew T. Franzone from directly or

indirectly, including, but not limited to, through any entity owned or controlled by Franzone,

participating in the issuance, purchase, offer, or sale of any security in an unregistered offering

by an issuer, provided, however, that such Order shall not prevent him from purchasing or selling

securities for his own personal account.

                                                     V.

        Ordering Defendants to disgorge all ill-gotten gains, with prejudgment interest, as a result

of the conduct alleged in this Amended Complaint.


                                                    VI.

        Ordering Defendants to pay civil monetary penalties pursuant to Section 20 of the

Securities Act [15 U.S.C. § 77t], Section 21(d) of the Exchange Act [15 U.S.C. § 78u(d)], and

Section 209(e) of the Advisers Act [15 U.S.C. § 80b-9]; and


                                                    VII.

        Granting such other and further relief this Court may deem just and proper


                                  DEMAND FOR A JURY TRIAL

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, the Commission demands

trial by jury in this action of all issues so triable.




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Dated: April 23, 2021             Respectfully submitted,

                                  SECURITIES AND
                                  EXCHANGE COMMISSION

                                  /s/ Duane K Thompson
                                  Duane K. Thompson*
                                  Marie K.N. DeBonis*
                                  HelenAnne Listerman

                                  *Application for admission pro hac vice
                                   pending

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